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          EXHIBIT B
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Other counsel supporting Robert Ruyak for lead counsel in In re: Facebook, Inc.’s Consumer
Privacy User Profile Litigation.


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